                                 Case 16-16373   Doc 49-1            Filed 08/12/19   Entered 08/12/19 14:29:17                 Desc Exhibit
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Count Case No      Debtor                    Claimant                             Amount          Explanation
1)    12 B 32977   Collins, Louise           Louise Collins                             $46.15 Check issued to do debtor returned attempted not known
                                             8724 S Michigan
                                             Chicago, IL 60619


2)    14 B 11023   Brandon, Franklin L       Franklin L Brandon                            $2.01 Check issued to debtor not satisified within 90 days
                                             4510 N Spaulding Ave #2
                                             Chicago IL 60625


3)    14 B 40764   Dwane, Sullivan           Sullivan Dwane                                $2.01 Check issued to debtor not satisified within 90 days
                                             11214 18675 St
                                             Puyallup, WA 98374


4)    14 B 37996   Berryhill, Tabitha Sue    Tabitha Sue Berryhill                     $197.00 Check issued to debtor not satisified within 90 days
                                             5521 N Monitor
                                             Chicago, IL 60630


5)    15 B 00259   Brown, Nashun C           Nashun C Brown                                $5.01 Check issued to debtor not satisified within 90 days
                                             8151 S Burnham
                                             Chicago, IL 60617


6)    15 B 04223   Jacobs, Dyshika           Dyshika L Jacobs                           $25.56 Check issued to debtor not satisified within 90 days
                                             3807 W Chicago Ave, 2F
                                             Chicago, IL 60651


7)    15 B 04877   Clayton, Dominique        Dominique Clatyton                         $6.37 Check issued to debtor not satisified within 90 days
                                             4040 Lindenwood Dr #304
                                             Chicago, IL 60612


8)    15 B 23643   Hogan, Lashundra M        Lashundra M Hogan                             $8.91 Check issued to debtor not satisified within 90 days
                                             1555 S Avers #5
                                             Chicago, IL 60623




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9)    15 B 26572   Williams, Kenneth         Kenneth Williams                            $12.33 Check issued to debtor not satisified within 90 days
                                             20 N Mayfield Ave
                                             Chicago, IL 60644


10)   15 B 33956   Prewitt, Michelle         Michelle Prewitt                             $1.56 Check issued to debtor not satisified within 90 days
                                             1027 Bellwood Unit #B
                                             Bellwood, IL 60104


11)   16 B 15691   Tyson, Andrina T          Andrina T Tyson                              $4.70 Check issued to debtor not satisified within 90 days
                                             3426 Ridgeland Ave., #2
                                             Berwyn, IL 60402


12)   16 B 16373   Scarbrough, Harriet       Harriet L Scarbrough                    $12,090.87 Check issued to debtor not satisified within 90 days
                                             10501 S Normal Ave
                                             Chicago, IL 60628


13)   16 B 25558   Hampton, Tequilla M       Tequilla M Hampton                         $408.96 Check issued to debtor not satisified within 90 days
                                             10212 S Princeton Ave
                                             Chicago IL 60628


14)   16 B 28659   Mitchell, Belinda         Belinda Mitchell                            $10.35 Check issued to debtor not satisified within 90 days
                                             7 E 151st St
                                             Harvey, IL 60426


15)   16 B 30466   Cooper, Valton            Cooper Valton                               $22.50 Check issued to debtor not satisified within 90 days
                                             14606 Hoyne Ave
                                             Dixmoor, IL 60426


16)   16 B 37689   Press, Jennifer           Jennifer Press                               $7.19 Check issued to debtor not satisified within 90 days
                                             7654 S Carpenter
                                             Chicago, IL 60620




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17)   17 B 02425   Johnson, Linette         Linette Johnson                           $3.51 Check issued to debtor not satisifed within 90 days
                                            1620 S Komensky Ave #2
                                            Chicago, IL 60623


18)   17 B 33164   Ransom, Larry            Larry Ransom                             $14.54 Check issued to debtor not satisifed within 90 days
                                            256 N Keeler Ave #GRDN
                                            Chicago, IL 60626


19)   18 B 00521   Jackson, Worth           Worth Jackson                             $1.43 Check issued to debtor returned attemped not known
                                            830 E 153rd Ct
                                            South Holland, IL 60473




                                                                                 $12,870.96




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